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10
                                      UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                        ) CASE NO. 3:22-CR-426-JSC
                                                      )
15           Plaintiff,                               ) UNITES STATES’ AMENDED EXHIBIT LIST
                                                      )
16      v.                                            )
                                                      ) Judge: Hon. Jacqueline Scott Corley
17   DAVID WAYNE DEPAPE,                              )
                                                      )
18           Defendant.                               )
                                                      )
19

20           The United States hereby provides notice of its intent to offer into evidence the following
21 exhibits at trial. The government reserves the right to amend the list prior to and during trial as

22 necessary.

23 DATED: November 8, 2023                                Respectfully submitted,
24                                                                ISMAIL J. RAMSEY
                                                                  United States Attorney
25

26
                                                                     /s/
27                                                                HELEN L. GILBERT
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28                                                                Assistant United States Attorneys

     USA’S AMENDED EXHIBIT LIST                       1
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 1                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 2

 3     Case No.: 3:22-CR-426 JSC                             Date: November 9, 2023
 4               United States of America             vs.    David Wayne DePape
 5
                                  GOVERNMENT’S EXHIBIT LIST
 6
                        (X) Plaintiff                             ( ) Defendant
 7

 8

 9                    Date
            Exhibit
                      Admitted in                            Description
            Number
10                    Evidence
            1                           911 Call
11
            2                           SFPD Off. Willmes body worn camera video excerpt
12          3                           SFPD Off. Cagney body worn camera video excerpt
            4                           SFPD Off. Najarro body worn camera video excerpt 1
13
            5                           SFPD Interview of Depape excerpt 1
14          6                           SFPD Interview of Depape excerpt 2
15          7                           SFPD Interview of Depape excerpt 3
            8                           SFPD Interview of Depape excerpt 4
16          10                          Excerpt of Depape call to KTVU
17          11                          Summary Exhibit: BART and Muni Video with Map
            12                          BART videos
18          13                          MUNI videos
19                                      Summary Exhibit: U.S.Capitol Police Video Footage of
            14                          Victims' Home Exterior
20          15                          USCP CCTV Camera 101
21          16                          USCP CCTV Camera 102
            17                          USCP CCTV Camera 103
22                                      USCP CCTV Camera 104
            18
23          19                          USCP CCTV Camera 105
            20                          USCP CCTV Camera 106
24
            21                          Photograph: Camera 1
25          22                          Photograph: Camera 2
            23                          Photograph: Cameras 3 and 4
26
            24                          Photograph: Camera 5
27          25                          Photograph: Camera 6
            26                          Pelosi Residence and Surrounding Area
28
            27                          Pelosi Residence - Ground Floor v.1
     USA’S AMENDED EXHIBIT LIST                   2
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 1                    Date
            Exhibit
                      Admitted in                         Description
 2          Number
                      Evidence
 3          28                      Pelosi Residence - Third Floor
            30                      Crime Scene Photograph: Mr. Pelosi 2
 4
            32                      Crime Scene Photograph: Depape on floor with zipties
 5          33                      Crime Scene Photograph: Officers with Mr. Pelosi
            35                      Crime Scene Photograph: Depape note 1
 6
            36                      Crime Scene Photograph: Depape note 2
 7          37                      Crime Scene Photograph: Bags on patio dark 1
            38                      Crime Scene Photograph: Bags on patio dark 2
 8
            39                      Crime Scene Photograph: Bags on patio dark 3
 9          40                      Crime Scene Photograph: Bags on patio dark 4
10          41                      Crime Scene Photograph: Exterior of home 1
            42                      Crime Scene Photograph: Exterior of home 2
11          43                      Crime Scene Photograph: Exterior of home 3
12          44                      Crime Scene Photograph: Exterior of home 4
            45                      Crime Scene Photograph: Exterior of home front steps
13          46                      Crime Scene Photograph: Exterior of home front path 1
14          47                      Crime Scene Photograph: Exterior of home front path 2
            48                      Crime Scene Photograph: Exterior of home front path 3
15          49                      Crime Scene Photograph: Exterior of home front path 4
16          50                      Crime Scene Photograph: Exterior of home front path 5
            51                      Crime Scene Photograph: Exterior of home patio 1
17                                  Crime Scene Photograph: Exterior of home patio 2
            52
18          53                      Crime Scene Photograph: Exterior of home patio 3
            54                      Crime Scene Photograph: Exterior of home patio 4
19                                  Crime Scene Photograph: Exterior of home patio 5
            55
20          56                      Crime Scene Photograph: Exterior of home patio 6
            57                      Crime Scene Photograph: Exterior of home patio 7
21
            58                      Crime Scene Photograph: Exterior of home patio 8
22          59                      Crime Scene Photograph: Exterior of home patio 9
            60                      Crime Scene Photograph: Exterior of home broken glass 1
23
            61                      Crime Scene Photograph: Exterior of home broken glass 2
24          62                      Crime Scene Photograph: Exterior of home garage side 1
            63                      Crime Scene Photograph: Exterior of home garage side 2
25
            64                      Crime Scene Photograph: Exterior of home garage side 3
26          65                      Crime Scene Photograph: Exterior of home side path 1
            66                      Crime Scene Photograph: Exterior of home side path 2
27
            67                      Crime Scene Photograph: Exterior of home side path 3
28          68                      Crime Scene Photograph: Exterior of home side path 4

     USA’S AMENDED EXHIBIT LIST               3
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 1                    Date
            Exhibit
                      Admitted in                         Description
 2          Number
                      Evidence
 3          69                      Crime Scene Photograph: Exterior of home side path 5
            70                      Crime Scene Photograph: Exterior of home side path 6
 4
            71                      Crime Scene Photograph: Exterior of home side path 7
 5          72                      Crime Scene Photograph: Exterior of home side path 8
            73                      Crime Scene Photograph: Exterior of home side path 9
 6
            74                      Crime Scene Photograph: Front door
 7          75                      Crime Scene Photograph: Foyer
            76                      Crime Scene Photograph: Foyer Items 1
 8
            78                      Crime Scene Photograph: Foyer Items 3
 9          79                      Crime Scene Photograph: Foyer Items 4
10          80                      Crime Scene Photograph: Foyer Items 5
            81                      Crime Scene Photograph: BART card 1
11          82                      Crime Scene Photograph: BART card 2
12          83                      Crime Scene Photograph: MUNI receipt
            84                      Crime Scene Photograph: Markers 1, 2, and 3
13          85                      Crime Scene Photograph: Markers 2 and 3
14          86                      Crime Scene Photograph: Marker 3
            87                      Crime Scene Photograph: Markers 2 and 4
15          88                      Crime Scene Photograph: Hammer 1
16          89                      Crime Scene Photograph: Hammer 2
            90                      Crime Scene Photograph: Hammer 3
17                                  Crime Scene Photograph: Marker 4
            91
18          92                      Crime Scene Photograph: Marker 4 close up
            93                      Crime Scene Photograph: Entry Room 1
19                                  Crime Scene Photograph: Entry Room 2
            94
20          95                      Crime Scene Photograph: Entry Room 3
            96                      Crime Scene Photograph: Entry Room Glass 1
21
            97                      Crime Scene Photograph: Entry Room Glass 2
22          98                      Crime Scene Photograph: Entry Room Glass 3
            99                      Crime Scene Photograph: Entry Room Glass 4
23
            100                     Crime Scene Photograph: Stairs from foyer
24          101                     Crime Scene Photograph: Stairs from second floor down
            102                     Crime Scene Photograph: Stairs to second floor
25
            103                     Crime Scene Photograph: Stairs from second floor up
26          104                     Crime Scene Photograph: Stairs from third floor down
            105                     Crime Scene Photograph: Third floor 1
27
            106                     Crime Scene Photograph: Third floor 2
28          107                     Crime Scene Photograph: Elevator

     USA’S AMENDED EXHIBIT LIST               4
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 1                    Date
            Exhibit
                      Admitted in                         Description
 2          Number
                      Evidence
 3          108                     Crime Scene Photograph: Third floor bedroom door
            109                     Crime Scene Photograph: Bedroom pillows and glove 1
 4
                                    Crime Scene Photograph: Bedroom pillows, glove, and
            110
 5                                  zipties
            111                     Crime Scene Photograph: Bedroom pillows and glove 2
 6          112                     Crime Scene Photograph: Bedroom pillows and zipties
 7          113                     Crime Scene Photograph: Marker 6
            114                     Crime Scene Photograph: Marker 6 up close
 8                                  Crime Scene Photograph: Bedroom pillows and rope
            115
 9          116                     Crime Scene Photograph: Bed 1
            117                     Crime Scene Photograph: Bed 2
10
            118                     Crime Scene Photograph: Bed 3
11          119                     Crime Scene Photograph: Closet 1
            120                     Crime Scene Photograph: Dresser
12
            121                     Crime Scene Photograph: Closet 2
13          122                     Crime Scene Photograph: Bathroom 1
            123                     Crime Scene Photograph: Bathroom 2
14
            124                     Crime Scene Photograph: Two bags and sleeping bag
15          125                     Crime Scene Photograph: Sleeping bag
            126                     Crime Scene Photograph: Small backpack full
16
            127                     Crime Scene Photograph: Small backpack items 1
17          128                     Crime Scene Photograph: Small backpack tablet
            129                     Crime Scene Photograph: Small backpack stick ends
18
            130                     Crime Scene Photograph: Small backpack Goji berries
19          131                     Crime Scene Photograph: Small backpack glove label
            132                     Crime Scene Photograph: Large backpack 1
20
            133                     Crime Scene Photograph: Large backpack 2
21          134                     Crime Scene Photograph: Large backpack front pockets
22                                  Crime Scene Photograph: Large backpack main
            135
                                    compartment
23                                  Crime Scene Photograph: Large backpack plastic bag
            136
                                    items 1
24                                  Crime Scene Photograph: Large backpack plastic bag
            137
                                    items 2
25
                                    Crime Scene Photograph: Large backpack plastic bag item
            138                     passport
26
                                    Crime Scene Photograph: Large backpack plastic bag
27          139
                                    items 3
28                                  Crime Scene Photograph: Large backpack plastic bag
            140
                                    items 4
     USA’S AMENDED EXHIBIT LIST               5
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 1                    Date
            Exhibit
                      Admitted in                          Description
 2          Number
                      Evidence
 3                                  Crime Scene Photograph: Large backpack plastic bag
            141
                                    items 5
 4                                  Crime Scene Photograph: Large backpack plastic bag
            142
                                    items 6
 5
                                    Crime Scene Photograph: Large backpack plastic bag
            143
 6                                  items 7
                                    Crime Scene Photograph: Large backpack plastic bag
 7          144
                                    items 8
                                    Crime Scene Photograph: Large backpack plastic bag
 8          145                     items cash
 9                                  Crime Scene Photograph: Large backpack misc 1 (drink
            146                     mixes, etc.)
10
            147                     Crime Scene Photograph: Large backpack two bottles
11                                  Crime Scene Photograph: Large backpack misc 2 (duct
            148                     tape, etc.)
12
                                    Crime Scene Photograph: Large backpack misc 3 (zip ties,
            149
13                                  etc.)
                                    Crime Scene Photograph: Large backpack misc 4
14          150                     (hammer, laptop, etc.)
15          151                     Crime Scene Photograph: Large backpack harddrives
                                    Crime Scene Photograph: Large backpack harddrive and
16          152                     adapter
17          153                     Crime Scene Photograph: Large backpack Dell laptop top
                                    Crime Scene Photograph: Large backpack Dell laptop
18          154
                                    bottom
                                    Crime Scene Photograph: Large backpack Sandisk Ultra
19          155                     200 GB
20                                  Crime Scene Photograph: Large backpack Sandisk Ultra
            156                     200 GB back
21
                                    Crime Scene Photograph: Large backpack Sandisk SDHC
22          157                     4 GB
                                    Crime Scene Photograph: Large backpack Sandisk SDHC
23          158                     4 GB back
24                                  Crime Scene Photograph: Large backpack Boblov BWC,
            159                     phone, USB
25
            160                     Hammer (Marker 4)
26          161                     Zipties package, multi color (Marker 2)
            162                     Ziptie (single) (Marker 2)
27
            163                     Ziptie (single) (Marker 3)
28          164                     Plastic cup (Marker 3)
     USA’S AMENDED EXHIBIT LIST                6
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 1                    Date
            Exhibit
                      Admitted in                          Description
 2          Number
                      Evidence
 3          165                     $16 in cash
            166                     BART card 1
 4
            167                     BART card 2
 5          168                     Muni card
            169                     Slip of paper (Marker 1 & 2)
 6
            170                     Piece of paper
 7          171                     Rope
            172                     Single glove
 8
            173                     Zipties package, clear (Marker 6)
 9          174                     Sleeping bag in stuff sack
10          175                     Toothpaste
            176                     Battery pack, white
11          177                     Large backpack
12          178                     $9,126 in cash
            179                     Hammer, yellow handle
13          180                     Duct tape
14          181                     Package of zipties 1
            182                     Package of zipties 2
15          183                     Package of zipties 3
16          184                     Plastic bag
            185                     Birth certificate
17                                  Social security card
            186
18          187                     Passport
            188                     Two drivers' licenses
19                                  California Benefits ID card
            189
20          190                     Wells Fargo ATM card
            191                     Paypal debit card
21
            192                     SD reader
22          193                     Two bank envelopes
            194                     Scissors
23
            195                     Floss
24          196                     Toothbrush
            197                     Batteries
25
            198                     Battery charger
26          199                     Misc. electronics' accessories
            200                     Matches
27
            201                     Wyler's light single drink mixes
28          202                     Body camera user manual

     USA’S AMENDED EXHIBIT LIST                7
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 1                    Date
            Exhibit
                      Admitted in                        Description
 2          Number
                      Evidence
 3          203                     Purple gloves
            204                     Facemask
 4
            205                     Two bottles of liquid
 5          206                     2 costumes
            207                     3 solar chargers
 6
            208                     Nintendo switch
 7          209                     Various electronic chargers and cables Item
            210                     Camping light
 8
            211                     Crayons
 9          212                     Book
10          213                     Drinking glass
            214                     Battery charger
11          215                     Thumb drive reader
12          216                     4 pairs of socks
            217                     2 pairs of shorts
13          218                     7 pairs of boxer briefs
14          219                     Greens 8 in 1 supplement
            220                     Beef sticks
15          221                     Vitamins
16          222                     2 jars glucosamine
            223                     Watermelon lemonade
17                                  Goji berries
            224
18          225                     Pencil
            226                     Single glove
19                                  Gloves label
            227
20          228                     Teclast tablet
            229                     SanDisk SD Card; SN: BH1128416132D; 4GB
21
            230                     Samsung Galaxy S7
22          231                     Body worn camera, no manufacturer
            232                     Boblov body worn camera
23
            233                     Body worn camera instruction manual
24          234                     Generic USB Flash Drive; SN: none; 1TB
                                    Western Digital 3.5” SATA HDD; Model: WD10EZEX;
25          235                     SN: WCC6Y1SKV3S6; 1TB
26                                  Western Digital 2.5" SATA HDD; Model: WD10SPZX-
            236                     24; SN: WXS1A68K4047; 1TB
27
                                    Dell Laptop Model: Latitude E6540; SN: 5XOY942, with
            237                     power cord and case
28

     USA’S AMENDED EXHIBIT LIST               8
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 1                    Date
            Exhibit
                      Admitted in                        Description
 2          Number
                      Evidence
 3          238                     Depape Residence Photograph: Exterior 1
            239                     Depape Residence Photograph: Exterior 2
 4
            240                     Depape Residence Photograph: Interior computers 1
 5          241                     Depape Residence Photograph: Interior chair etc.
            242                     Depape Residence Photograph: Interior cushions
 6
            243                     Depape Residence Photograph: Interior computers 2
 7          244                     Depape Residence Photograph: Interior computers marked
            245                     Depape Residence Photograph: Tower marked
 8
            246                     Depape Residence Photograph: Tower back
 9          247                     Depape Residence Photograph: Markers 9, 13 & 14
10          248                     Depape Residence Photograph: Marker 9 zipties in place
            249                     Depape Residence Photograph: Marker 9 zipties
11          250                     Depape Residence Photograph: Markers 7 & 11
12          251                     Depape Residence Photograph: Marker 7 receipt
            252                     Depape Residence Photograph: Geek Squad part order
13          253                     Depape Residence Photograph: W-9
14          254                     Depape Residence Photograph: Interim Driver License
            255                     Depape Residence Photograph: Application for State ID
15          256                     Depape Residence Photograph: PayPal debit card front
16          257                     Depape Residence Photograph: PayPal debit card back
                                    Depape Residence Photograph: Safeway and PayPal debit
17          258
                                    card
            259                     Depape Residence Photograph: USPS box
18
            260                     Depape Residence Photograph: 2012 IRS letter p.1
19          261                     Depape Residence Photograph: 2012 IRS letter p.2
            262                     Depape Residence Photograph: Mail from IRS
20
            263                     Depape Residence Photograph: Bottles citric acid
21          264                     Depape Residence Photograph: Bottles citric acid 2
22          265                     Depape Residence Photograph: Recycling bin 1
            266                     Depape Residence Photograph: Recycling bin 2
23          267                     Depape Residence Photograph: Recycling bin 3
24          268                     Wells Fargo receipt
                                    iBuyPower; Model: iSeries A303A655012520; SN: 2216-
25          269                     59B9-3082-DD65-2
26                                  APacer 2.5" SATA SSD; Model: Panther; SN:
            270                     142002113178; 240GB
27          271                     Firefox Bookmarks
28          272                     Firefox Cookies

     USA’S AMENDED EXHIBIT LIST               9
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 1                    Date
            Exhibit
                      Admitted in                         Description
 2          Number
                      Evidence
 3          273                     Firefox SessionStore Artifacts
            274                     Firefox Web History
 4
            275                     Firefox Web Visits
 5          276                     Google Maps Queries
            277                     Google Searches
 6
            278                     Image - broadway 2019.JPG
 7          279                     Image - broadway.JPG
            280                     Image - 01 (1).JPG
 8
            281                     Image - pelosivigilmar1207_8.jpg
 9                                  Image - 33163248-8730937-image-a-
            282
                                    2_1600090811088.jpg
10
            283                     Image - hqdefault.jpg
11                                  Image - 37501178-9105277-image-a-
            284                     82_1609539332899.jpg
12
            285                     Image - Eqs0Zq2XIAUp9MB.jpeg
13                                  Image - 813c7af4-6d5a-42bb-89b1-
            286                     60f38f9aa4ce_1140x641.jpg
14
            287                     Image - 37503978-0-image-a-3_1609550789355.jpg
15                                  Image - 2411bfb6-4ea3-4d10-b8ef-
            288                     341464286bb9_1140x641.png
16
            289                     Image - sddefault.jpg
17          290                     Image - nancy-pelosi.webp
            291                     Text document - New Text Document.txt
18
            292                     AD Lab Report, Bookmark: Pelosi Information
19          293                     Spokeo records
            294                     902(11) Certification for Amazon records
20
            295                     Amazon records
21                                  803(8) & 902(11) Certification for US House of
            296                     Representatives Records
22
                                    Official List of Members of the U.S. House of
            297                     Representatives, 117th Congress
23
            298                     Photograph from medical records 1
24
            305                     Photograph from medical records 8
25          310                     Photograph from medical records 13
            314                     SFPD Off. Najarro body worn camera video excerpt 2
26
            315                     SFPD Off. Najarro body worn camera video excerpt 3
27          316                     SFPD Dispatch Audio
28          317                     Jail call log including 1/27/23 call

     USA’S AMENDED EXHIBIT LIST               10
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 1                    Date
            Exhibit
                      Admitted in                        Description
 2          Number
                      Evidence
 3                                  Slow version of excerpt of SFPD Off. Cagney body worn
            318
                                    camera
 4          319                     Pelosi Residence - Ground Floor v.2
 5          320                     Small backpack

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     USA’S AMENDED EXHIBIT LIST              11
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